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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------X

   In re:
                                                              Chapter 11
   PACE PRODUCT SOLUTIONS, INC.,
                                                              Case No. 08-12666 (MG)
                                      Debtor.

   ------------------------------------------------------X


   ORDER DELAYING RULING ON MOTION TO LIFT THE AUTOMATIC STAY
       UNTIL AFTER HEARING ON MOTION TO APPOINT TRUSTEE

            Creditor Summa Capital Corp. filed a motion for relief from the automatic stay on

   July 16, 2008. ECF Doc. # 3. On July 17, 2008, the Court entered an order shortening

   notice of hearing on the lift stay motion and setting the hearing for Monday, July 21,

   2008 at 2:00 p.m. ECF Doc. # 5. Opposition papers were filed by Debtor’s counsel on

   the morning of July 21, 2008, ECF Doc. # 11, and the Court heard evidence and

   argument regarding the lift-stay motion at the July 21 hearing.

            After the July 21, 2008 hearing, the United States Trustee submitted to chambers

   an Order to Show Cause re: Appointment of a Chapter 11 or Chapter 7 Trustee. The

   Court signed the Order to Show Cause and set the OSC down for hearing for Thursday,

   July 24, 2008 at 2:00 p.m.

            The Court shall defer ruling on Summa Capital Corp.’s motion for relief from the

   automatic stay until after hearing the United States Trustee’s motion for appointment of a

   Chapter 7 or Chapter 11 trustee.

            During the July 21 hearing, the Court orally issued an order restraining and

   enjoining the debtor and debtor’s officers and employees, from transferring,
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   encumbering, or otherwise dissipating any estate assets which constitute the collateral for

   debtor’s obligations to Summa Capital Corp. It is hereby

          ORDERED, that the Court’s order issued from the bench at the July 21, 2008

   hearing shall remain in full force and effect pending further order from the Court.


   Dated: New York, New York
          July 23, 2008



                                         _____/s/Martin Glenn____________
                                                MARTIN GLENN
                                         United States Bankruptcy Judge
